fr

Case 2:23-cv-21522-JXN Document1 Filed 10/26/23 Page 1 of 16 PagelD: 1

AO 241 Page 2

(Rev. 06/13)

PETITION UNDER 28 U.S.C. § 2254 FOR WRIT OF
HABEAS CORPUS BY A PERSON IN STATE CUSTODY

United States District Court District: OF Ne Ww Jers ey
7

Name (under which you were convicted): Docket or Case No.:

— a
Toshua DenrsiuK
Prisoner No.:

Special Fea bn entt Uf Avonel AT $43

Respondent (authorized person having custody of petitioner) --

efi loner (include the name undeg which you weg convicte
Ve the Crvi/ Mn thent oF a . MT. Su MEME Cour
039623. Appelkte Docket 4 -~513/-1%, SVP-b68~ 12

The Attorney General of the State of me ty

a Ce

=,

§ _ ge

PETITION — ya2
Nm *Ra2a
o~ ‘Zin
m3

1. (a) Name and location of court that entered the judgment of conviction you are challenging: 4

— —
Superior Gurl ef Hew Teruy- Law Witisjor, C31
ex Courty, New Jers ey - SO 's cheltenps hiss

Givi] Cs fanent of Ke STU Was LN LENS LL bioma as

fo Als —uvensle offender Behovier, .,
(b) Crimina! docket or case number (if you know): S VP. 64 gS nef. 3
2. (a) Date of the judgment of conviction (if you know): Janu ary 2g, neo 1g
(b) Date of sentencing: Januas 28 20/9 TB - Mas COrarn Me df the S77 y

Length of sentence: Tadetindyy Civitly Coram lh ef EB Ike S7U/ as okt 7

4. In this case, were you convicted on more than one count or of more than one crime? OO Yes ‘SK. No

5. Identify all crimes of which you were convicted and sentenced in this case:
JO, only Sexdally Offended as a javenrle, hef was
adjudieare d iSken he wes only aye 4S ana! an Taly 39
aoiy, Zh. #08 Coraeited but M3 Conmifuend Case wag
clamissed when hs PCR case Caused dismissal! of ig

avenile pha: On March | 26%, ho was again Fémporar),
Comm: teed, On Tanuary 25 A9/6, TI-&- wag Ciucbnn hod.

6. (a) What was your plea? (Check one)
Not guilty Oo (3) Nolo contendere (no contest)

M/} Wp o (1)
O (2) Guilty oO (4 Insanity plea
Case 2:23-cv-21522-JXN Document 1 Filed 10/26/23 Page 2 of 16 PagelD: 2

AO 241 Page 3
(Rev. 06/13)

(b) If you entered a guilty plea to one count or charge and a not guilty plea to another count or charge, what did

you plead guilty to and what did you plead not guilty to?

Wh

¢ 4
c
(c) If you went to trial, what kind of trial did you have? (Check one) C¥'y/ / Co Wee ka int Vial

O Jury 9 Judge only
7, Did you testify at a pretrial hearing, trial, or a post-trial hearing?
TOYes ff No
8. Did you appeal from the judgment of conviction?
R Yes O No
9. If you did appeal, answer the following: =
(a) Name of court: Sup erier Court of New J. ey ~ App ell of “g Dit/ssen
(b) Docket or case number (if you know): ee Mate Docker A-S13/ a ‘7

(c) Result: Apps ate Court a ined Ais Crimi tin ent.
(d) Date of result (if you know): Tune 23, 2020

(e) Citation to the case (if you know): In the Crus / Com ‘ha ent of J. b-
A 513/- (0, SVP- COs— 13

rounds raised:
the Tiel Court Violated Tb.s 8" Amendunent- and
Yrotess, Kyokts Because (ft failed Reeo Gnee That
TH. Peserled a Reduced KetidiVara Kithk aa Al Stood
Defore The Court Sirae Ae only Offended as A Taventle ,

eretore fhe eprgiertmen! ape r he SWA oles Violate

bis Conslttational ight

(g) Did you seek further review by a higher state court? Yes O No

If yes, answer the following:

(1) Name of court, AW! Torsey Supreme bout

(2) Docket or case number (if you know): Os Yb 93

@)Resut: Denied! The pet tion Lor cert: Geat/en

(4) Date of result (if you know):

aura day of decleber 2020
Case 2:23-cv-21522-JXN Document 1 Filed 10/26/23 Page 3 of 16 PagelD: 3

AO 241 Page 4

(Rev. 06/13)
(5) Citation to the case (if you know): Ln the Cha: / Cowwitpent of TA-<
Super’ Court 08¥6 73

(6) Grounds raised:

De Tri'el Court Violted SDs Lonsftuhlrnad entender
ard Due ho tess Ai Ats okir 7 jhed Io fe nee he

Agu 25 tntec/ RedydeW Setuud LgeidVirm CAUSE
Lh OR ncfed as a tavenile.

(h) Did you file a pefition for certiorari in the United States Supreme Court? O Yes xX No
If yes, answer the following:
(1) Docket or case number (if you know):

(2) Result:

(3) Date of result (if you know):

(4) Citation to the case (if you know):

10. Other than the direct appeals listed above, have you previously filed any other petitions, applications, or motions
concerning this judgment of conviction in any state court? See Yes O No
11. If your answer to Question 10 was "Yes," give the following information:

(a) (1) Name of court: Superior Cour? of Mew pies Law Ditision -Cuilhl
(2) Docket or case number (if you know): SP = fi ‘ OOS —F3
(3) Date of filing Gf you know): . i / 4 Ag 1S

{
(4) Nature of the proceeding: Nonice e - Moher Por A Trecdneat- Hoos ¢ ng

(5) Grounds raised:

Tereparable farm and for Fb.3 Continued
jrapri-sen ment wn Violation of the Jauven ile
Sashee Gol pectieally FSA. 2: 4h-HA
Grd Lnmedhite release 0 TIL hom Coch, ly 7

(6) Did you receive a hearing where evidence was given on your petition, application, or motion?

OC Yes SLNo

(7) Result:

(8) Date of result (if you know):
Case 2:23-cv-21522-JXN Document 1 Filed 10/26/23 Page 4 of 16 PagelD: 4

(Rev. 06/13)

(b) If you filed any second petition, application, or motion, give the same Wg tion:

(1) Name of court: Sup erier Court - Frop ell d) Wes ‘ 2 n
(2) Docket or case number (if you know): Kr OO2ZY SS— £3, W\ -C08232.- 1/5
(3) Date of filing (if you know): March 16, A2D/6

ae Pang ofthe prowged eding: pAcn For Reonsiderebon, Ane the
(3) Grounds raised: CUSSION lo File Finer int

e Louk hes edrnedt tke o'spos: len 0 Ho nfenilt
(now aclalts) a and von ee oad apy aiboorn
t¢ rely.oe Kim PRore) do Linen aud. Be Con Anu C0
rapier serment on VWebtien of tke Tapeaile ustie ¢

cod, 5 eertiedly thF-8.A. 2A:4A-44-02) and

oe state ata, of bent fron custody .

(6) Did you receive a hearing where evidence was given on your petition, application, or motion?

Mres ‘No Z
(7) Result: Denied disposition of the puvens ¢ maher.

(8) Date of result (if you know): 2e of Saesaryp 20/9

(c) If you filed any third petition, application, or motion, give the s Oo 1

(1) Name of court: 3S open C Cour O wed terse
(2) Docket or case number (if you know): O28 23 C

(3) Date of filing (if you know): Janaar fos 46, 29 / ?
Infe

(4) Nature of the proceeding: Aanel pe 4 hon Por lath hashon
(5) Grounds raised:

Pape llote ¢ ole Fevieal or he Tint Carts LEyo” » In
bevy 4 TD. Motion under ALT PE. 104

1s ADE AlDVO sTAKDARD, Whisk is @
Frye par: and fi £ exceluok tA?
report as pel opin .

Case 2:23-cv-21522-JXN Document1 Filed 10/26/23 Page 5 of 16 PagelD: 5

AO 241 Page 6
(Rev. 06/13)

(6) Did you receive a hearing where evidence was given on your petition, application, or motion?
O Yes $€ No

(7) Result:

(8) Date of result (if you know):

(d) Did you appeal to the highest state court having jurisdiction over the action taken on your petition, application,

or motion?
(1) First petition: mM Yes O No
(2) Second petition: JW Yes No
(3) Third petition: Jal Yes No

(e) If you did not appeal to the highest state court having jurisdiction, explain why you did not:

12. For this petition, state every ground on which you claim that you are being held in violation of the Constitution,
laws, or treaties of the United States. Attach additional pages if you have more then four grounds. State the facts
supporting each ground.

CAUTION: To proceed in the federal court, you must ordinarily first exhaust (use up) your available
state-court remedies on each ground on which you request action by the federal court. Also, if you fail to set
forth all the grounds in this petition, you may be barred from presenting additional grounds at a later MASE

GROUND ONE: WAa state courts ANiolated SO'5 Constrfa honal e”

/ eaF Jf Que Aocess GMs when fF failed fe LOCO 2
he pees ent bee elit eo/ Sexua/ ec, cl; Vim Misk, as a Teed é
p

sotne fe cts (Do not a or cite law. Just state the specific facts that support your claim.):
rh. 4S ta Mel: ele als ‘hle er Crmyaitrnen aS SUA Aecause the
very low robe juvenile ofkrolers sexaally fecid val«,
end when th fyet t the eh ahd Fedlera/ jaw‘ Cases shites
or was unconsTty 1Onal 7o Continued , Mgon meat 1: iA Vil le sO
of tho Taveni/e Tail, Boe gop eats Beall N.SSA 2h AAAS
" dhe LES ie dal. SimwenS Tare! mM fhe Sepreart

coach. case Geejcin) 7 Benge Jeng v. Florida.

did not exhaust your state ae Son ‘Ground One, explain why:

bid exhaust m y sfale (omedies

Case 2:23-cv-21522-JXN Document 1 Filed 10/26/23 Page 6 of 16 PagelD: 6

AO 241
(Rev. 06/13)

(c)

Direct Appeal of Ground One:
(1) If you appealed from the judgment of conviction, did you raise this issue?

(2) If you did not raise this issue in your direct appeal, explain why:

(d) Post-Conviction Proceedings:

(1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

O1 Yes 5K No
(2) If your answer to Question (d)(1) is "Yes," state:
Type of motion or petition:

Name and location of the court where the motion or petition was filed:

Docket or case number (if you know):
Date of the court's decision:

Result (attach a copy of the court's opinion or order, if available):

(3) Did you receive a hearing on your motion or petition?

(4) Did you appeal from the denial of your motion or petition?

(5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?
(6) If your answer to Question (d)(4) is "Yes," state:

Name and location of the court where the appeal was filed:

Docket or case number (if you know):
Date of the court's decision:

Result (attach a copy of the court's opinion or order, if available):

R Yes O No

O Yes A¥ No
O Yes & No
O Yes pt No

(7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:

“ Direct

Because this jasue tag faised yn

Appeal:

Page 7
Case 2:23-cv-21522-JXN Document 1 Filed 10/26/23 Page 7 of 16 PagelD: 7

AO 24] Page 8
(Rev. 06/13)

(e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you have

used to exhaust your state remedies on Ground One:

n/p

Grounptwo: ZF u/ag unconstitatrenal be Cuddly Comnfled Je.
uncher fhe SVP and was a ajar Cincern

a
on his ae .
(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

The state Cour In Correct] determined ond (ejected Jb.
issues Was Cased jn Kis Direct frapeal, that suPR
Commas tin ent Violated Kis const tah pral rights ceuliy
comnrtted bia for puen'le conduct as a adult ol te

STU in Viohtion ef the MaMANE wm ¢ Court Cases of Koper V
Simmons and Graken v. Flonoqg @s wellas in Kansag V. 26e0€

ny

sfoledKepsas J. Herclichs thet tendrichs urclerscored const babioval!t
fs A {
TD. Did eghousit his state femedi ex en Ais ConstiFattonal'ty

/SSUCS.

(c) Direct Appeal of Ground Two:
(1) If you appealed from the judgment of conviction, did you raise this issue? aX Yes O No

(2) If you did not raise this issue in your direct appeal, explain why:

(d) Post-Conviction Proceedings:
(1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?
O Yes BR No
(2) If your answer to Question (d)(1) is "Yes," state:
Type of motion or petition:

Name and location of the court where the motion or petition was filed:

Docket or case number (if you know):

Date of the court's decision:
Case 2:23-cv-21522-JXN Document 1 Filed 10/26/23 Page 8 of 16 PagelD: 8

AO 241 Page 9
(Rev. 06/13)

Result (attach a copy of the court's opinion or order, if available):
N/A

(3) Did you receive a hearing on your motion or petition? QO Yes & No
(4) Did you appeal from the denial of your motion or petition? O Yes x No
(5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal? © Yes a No
(6) If your answer to Question (d)(4) is "Yes," state:

Name and location of the court where the appeal was filed:

Docket or case number (if you know):
Date of the court's decision:

Result (attach a copy of the court's opinion or order, if available):
W/ps
(7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:
Dp id POISE mM “oO. B63 Const ta Henal by [xsdds
on Mm hire it Fypen ty,

(e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you :

have used to exhaust your state remedies on Ground Two

M/A

GROUND THREE:
N/A,

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

N/A
Case 2:23-cv-21522-JXN Document 1 Filed 10/26/23 Page 9 of 16 PagelD: 9

AO 241
(Rev. 06/13)

(b) If you did not exhaust your state remedies on Ground Three, explain why:

(c)

(d)

Direct Appeal of Ground Three: vA

(1) If you appealed from the judgment of conviction, did you raise this issue? O Yes (No

(2) If you did not raise this issue in your direct appeal, explain why:

Post-Conviction Proceedings: Ap A

(1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

O Yes O No
(2) If your answer to Question (d)(1) is “Yes,” state:
Type of motion or petition:

Name and location of the court where the motion or petition was filed:

Docket or case number (if you know):
Date of the court's decision:

Result (attach a copy of the court's opinion or order, if available):

(3) Did you receive a hearing on your motion or petition? O Yes an °
(4) Did you appeal from the denial of your motion or petition? O Yes WN;
(5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal? © Yes No

(6) If your answer to Question (d)(4) is "Yes," state:

Name and location of the court where the appeal was filed:

Docket or case number (if you know):
Date of the court's decision:

Result (attach a copy of the court's opinion or order, if available):

Page 10
Case 2:23-cv-21522-JXN Document 1 Filed 10/26/23 Page 10 of 16 PagelD: 10

AO 241 Page 11
(Rev. 06/13)

(7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:

A/

(e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you

have used to exhaust your state remedies on Ground Three:

Alex
Al/n

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim. ):

GROUND FOUR:

Nik.

(b) If you did not exhaust your state remedies on Ground Four, explain why:

(c) Direct Appeal of Ground Four: My
(1) If you appealed from the judgment of conviction, did you raise this issue? O Yes ho

(2) If you did not raise this issue in your direct appeal, explain why:

(d) Post-Conviction Proceedings: i /; A

(1) Did you raise this au. a post-conviction motion or petition for habeas corpus in a state trial court?
O Yes No
(2) If your answer to Question (d)(1) is "Yes," state:

Type of motion or petition:
Case 2:23-cv-21522-JXN Document 1 Filed 10/26/23 Page 11 of 16 PagelD: 11

AO 241 Page 12
(Rev. 06/13)

Name and location of the court where the motion or petition was filed:
Docket or case number (if you know):
Date of the court's decision:

Result (attach a copy of the court's opinion or order, if available):

wp

(3) Did you receive a hearing on your motion or petition? Ol Yes

(4) Did you appeal from the denial of your motion or petition? O Yes

CAR

(5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal? O Yes
(6) If your answer to Question (d)(4) is "Yes," state:

Name and location of the court where the appeal i/ filed:

Docket or case number (if you know):

Date of the court's decision:

Result (attach a copy of the court's opinion or order, if available):

(7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:

A /P

(e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you

have used to exhaust your state remedies on Ground Four: N A
AO 241
(Rev. 06/13)

13.

14.

15.

Case 2:23-cv-21522-JXN Document 1 Filed 10/26/23 Page 12 of 16 PagelD: 12

Page 13
Please answer these additional questions about the petition you are filing:
(a) Have all grounds for relief that you have raised in this petition been presented to the highest state court
having jurisdiction? Peyes O No
If your answer is "No," state which grounds have not been so presented and give your reason(s) for not
presenting them:
(b) Is there any ground in this petition that has not been presented in some state or federal court? If so, which

ground or grounds have not been presented, and state your reasons for not presenting them:

Ni

Have you previously filed any type of petition, application, or motion in a federal court regarding the conviction
that you challenge in this petition? O Yes JLNo
If "Yes," state the name and location of the court, the docket or case number, the type of proceeding, the issues

raised, the date of the court's decision, and the result for each petition, application, or motion filed. Attach a copy

uJ

of any court opinion or order, if available.

Do you have any petition or appeal now pending (filed and not decided yet) in any court, either state or federal, for
the judgment you are challenging? O Yes x No
If "Yes," state the name and location of the court, the docket or case number, the type of proceeding, and the issues

raised.
Case 2:23-cv-21522-JXN Document 1 Filed 10/26/23 Page 13 of 16 PagelD: 13

AO 241 Page 14
(Rev. 06/13)

16. Give the name and address, if you know, of each attorney who represented you in the following stages of the

judgment you are challenging:
(a) At preliminary hearing: | Z a f +4-
Civ / O mani lane n

(b) At arraignment and plea:

(c) At trial: Na Lock ¢ Assistant Dep ] bb). Danider
(d) At sentencing: Cul / bows ts ; hue a t Kea fey 4
(e)Onappea: SYSQN bs mis Silver Assistint Depay Pblic bdboder-

(f) In any post-conviction proceeding: /

(g) On appeal from any ruling against you in a post-conviction proceeding:

17. Do you have any future sentence to serve after you complete the sentence for the judgment that you are
challenging? O Yes x No

(a) If so, give name and location of court that imposed the other sentence you will serve in the future:

A/a

(b) Give the date the other sentence was imposed: Nv /
(c) Give the length of the other sentence: a
(d) Have you filed, or do you plan to file, any petition that challenges the judgment or sentence to be served in the.
future? . O Yes x No
18. TIMELINESS OF PETITION: If your judgment of conviction became final over one year ago, you must explain

why the one-year statute of limitations as contained in 28 U.S.C. § 2244(d) does not bar your petition.*

This htion weuld kaye Joek Bled Timely, buf qe Io

the Fact te COVID-IF Kas ut the 27U- a
Crounitments facilit oO” Several eur, of Jock own and
with acess Jo an hb hhracy andljor af; oe. % ire.
Jp-5 «@ Jayna at /4w, ar who wis only a Tavenile
omens ks! 1eguestias dis fost and on y filo nity # ploteed
Case 2:23-cv-21522-JXN Document 1 Filed 10/26/23 Page 14 of 16 PagelD: 14

AO 241
(Rev. 06/13)

Page 15

* The Antiterrorism and Effective Death Penalty Act of 1996 ("AEDPA") as contained in 28 U.S.C. § 2244(d) provides in

part that:

(1)

A one-year period of limitation shall apply to an application for a writ of habeas corpus by a person in
custody pursuant to the judgment of a State court. The limitation period shall run from the latest of -

(A)

(B)

(C)

(D)

the date on which the judgment became final by the conclusion of direct review or the expiration
of the time for seeking such review;

the date on which the impediment to filing an application created by State action in violation of
the Constitution or laws of the United States is removed, if the applicant was prevented from
filing by such state action;

the date on which the constitutional right asserted was initially recognized by the Supreme Court,
if the right has been newly recognized by the Supreme Court and made retroactively applicable to
cases on collateral review; or

the date on which the factual predicate of the claim or claims presented could have been
discovered through the exercise of due diligence.
Case 2:23-cv-21522-JXN Document 1 Filed 10/26/23 Page 15 of 16 PagelD: 15

AO 241 Page 16
(Rev. 06/13)

Q) The time during which a properly filed application for State post-conviction or other collateral review with
respect to the pertinent judgment or claim is pending shall not be counted toward any period of limitation
under this subsection.

Therefore, petitioner asks that the Court grant the following relief:

Tnmedhate Bluse of Ie. From Custody.

srl asd danas
in a plntion off tke Taneniey uote Cody, speci/re /
and Shade Nri-SicPy 24h Ate.

Signature of Attorney (if any)

I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct and that this Petition for

Writ of Habeas Corpus was placed in the prison mailing system on Septeadier 14 Bos date, year).

Executed (signed) on Q~ / Y- 72 (date).

. CU oe
Signature of Petitioner
Case 2:23-cv-21522-JXN Document 1 Filed 10/26/23 Page 16 of 16 PagelD: 16

Page 17

I declare (or certify, verify, or state) under penalty of perjury that I have been notified that I must include in this
petition all the grounds for relief from the conviction or sentence that I challenge, and that I must state the facts that
support each ground. I also understand that if I fail to set forth all the grounds in this petition, I may be barred from
presenting additional grounds at a later date.

a

Executed (signed) on Y- / ‘2 3 (date) we
a" we

Signature of Petitioner i

If the person signing is not petitioner, state relationship to petitioner and explain why petitioner is not signing this
petition.
